                                                                               Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 1 of 11




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                                                                          4                     IN THE UNITED STATES DISTRICT COURT
                                                                          5                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          6
                                                                                                               )      Case No. C 07-5944 SC
                                                                          7   In re: CATHODE RAY TUBE (CRT)    )
                                                                              ANTITRUST LITIGATION             )      MDL No. 1917
                                                                          8                                    )
                                                                              This Document Relates to:        )      ORDER GRANTING IN PART AND
                                                                          9                                    )      DENYING IN PART MITSUBISHI'S
                                                                              Electrograph Systems, Inc. v.    )      MOTION TO DISMISS SHARP'S FIRST
                                                                         10   Technicolor SA, No. 13-cv-05724; )      AMENDED COMPLAINT
                               For the Northern District of California
United States District Court




                                                                                                               )
                                                                         11   Alfred H. Siegel v. Technicolor )
                                                                              SA, No. 13-cv-05261;             )
                                                                         12                                    )
                                                                              Best Buy Co., Inc. v.            )
                                                                         13   Technicolor SA, No. 13-cv-05264; )
                                                                                                               )
                                                                         14   Interbond Corporation of America )
                                                                              v. Technicolor                   )
                                                                         15   SA, No. 13-cv-05727;             )
                                                                                                               )
                                                                         16   Office Depot, Inc. v.            )
                                                                              Technicolor SA, No.              )
                                                                         17   13-cv-05726;                     )
                                                                                                               )
                                                                         18   Costco Wholesale Corporation v. )
                                                                              Technicolor SA, No. 13-cv-05723; )
                                                                         19                                    )
                                                                              P.C. Richard & Son Long Island )
                                                                         20   Corporation v. Technicolor SA, )
                                                                              No. 13-cv-05725;                 )
                                                                         21                                    )
                                                                              Schultze Agency Services, LLC v. )
                                                                         22   Technicolor SA, Ltd., No. 13-cv- )
                                                                              05668;                           )
                                                                         23                                    )
                                                                              Sears, Roebuck and Co. and Kmart )
                                                                         24   Corp. v. Technicolor SA, No.     )
                                                                              3:13-cv-05262;                   )
                                                                         25                                    )
                                                                              Target Corp. v. Technicolor SA, )
                                                                         26   No. 13-cv-05686                  )
                                                                                                               )
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                                                                                  Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 2 of 11




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                                                                          2   I.      INTRODUCTION
                                                                          3           Now before the Court is Defendant Mitsubishi's 1 ("Mitsubishi"
                                                                          4   or "Defendant") motion to dismiss various Direct Action Purchaser
                                                                          5   Plaintiffs' ("Plaintiffs" or "DAPs") complaints. 2            ECF No. 2299
                                                                          6   ("MTD").      The matter is fully briefed, ECF Nos. 2358-4 ("Opp'n")
                                                                          7   (filed under seal), 2374-4 ("Reply") (filed under seal), and
                                                                          8   appropriate for decision without oral argument, per Civil Local
                                                                          9   Rule 7-1(b).      As explained below, the motion is GRANTED in part and
                                                                         10   DENIED in part.
                               For the Northern District of California
United States District Court




                                                                         11
                                                                         12 II.       BACKGROUND
                                                                         13           Mitsubishi is a relatively new defendant in this case, the
                                                                         14   basic facts of which are familiar to all parties.             The DAPs first
                                                                         15   named the Mitsubishi entities as defendants in November 2013,
                                                                         16   though in March 2013 they had sought leave from the Court to amend
                                                                         17
                                                                              1
                                                                         18     "Mitsubishi" refers collectively to Mitsubishi Electric US, Inc.,
                                                                              f.k.a. Mitsubishi Electric & Electronics, USA, Inc.; Mitsubishi
                                                                         19   Electric Corporation; and Mitsubishi Electric Visual Solutions
                                                                              America, Inc.
                                                                         20   2
                                                                                Mitsubishi specifically moves to dismiss the complaints in the
                                                                         21   following actions: Best Buy Co, Inc. v. Technicolor SA, No. 13-cv-
                                                                              05264; Siegel v. Technicolor SA, No. 13-cv-00141; Costco Wholesale
                                                                         22   Corp. v. Technicolor SA (f/kla Thomson SA) et al., No. 13-cv-05723;
                                                                              Electrograph Systems, Inc. v. Technicolor SA, No. 2: 13-cv-05724;
                                                                         23   Interbond Corp. of Am. v. Technicolor SA, No. 13-cv-05727;
                                                                              Office Depot, Inc. v. Technicolor SA, No. 13-cv-05726; P.C. Richard
                                                                         24   & Son Long Island Corp. v. Technicolor SA, No. 13-cv-05725; Sears,
                                                                              Roebuck & Co. v. Technicolor SA, No. 13-cv-05262; Schultze Agency
                                                                         25   Services, LLC v. Technicolor SA, No. 13-cv-05668; and Target Corp.
                                                                              v. Technicolor SA, No. 13-cv-05686. Two other cases purport to
                                                                         26   name Mitsubishi as defendants, but these plaintiffs have not
                                                                              previously requested leave to amend, nor have they served their
                                                                         27   amended complaints on any Mitsubishi entity: Tech Data
                                                                              Corp. et al. v. Hitachi, Ltd. et al., No. 13-cv-00157 (Sept. 9,
                                                                         28   2013), ECF No. 1911; Dell Inc. et al. v. Hitachi, Ltd. et al., No.
                                                                              3:13-cv-02171, (Jun. 10, 2013), ECF No. 1726.


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                                                                               Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 3 of 11




                                                                          1   their initial complaints to include Mitsubishi Electric.             ECDF Nos.
                                                                          2   1609, 1610.   The Court denied that motion on September 26, 2013,
                                                                          3   because at the time, Plaintiffs had presented no compelling reason
                                                                          4   as to why Mitsubishi should be part of this case.          See ECF No. 1959
                                                                          5   ("Order Denying Amendment").      Mitsubishi had never been indicted in
                                                                          6   the United States or anywhere else, had never received a grand jury
                                                                          7   subpoena in any investigation, and had never even been the subject
                                                                          8   of any government investigation into CRT price-fixing.              Further,
                                                                          9   Mitsubishi had last been alleged to have participated in the CRT
                                                                         10   conspiracy in 2004, though it had exited the market for color
                               For the Northern District of California
United States District Court




                                                                         11   picture tubes ("CPTs," which are used in televisions) in 1998 and
                                                                         12   stopped shipping color display tubes ("CDTs," which are used in
                                                                         13   computer monitors) to the United States in September 2003.             Since
                                                                         14   Mitsubishi asserts that its role in the CRT market was very small,
                                                                         15   and since it was a purchaser of CRTs itself, Mitsubishi contends
                                                                         16   that it should not be part of this case: after all, according to
                                                                         17   Mitsubishi, its participation in the overall market was de minimis,
                                                                         18   and it would not have participated in a conspiracy that caused it
                                                                         19   to pay higher prices.     See MTD at 2-3.
                                                                         20        Mitsubishi accordingly moves to dismiss the DAPs' complaints,
                                                                         21   arguing first that laches applies because the DAPs have possessed
                                                                         22   the relevant information for some time, they unreasonably delayed
                                                                         23   filing their complaints against Mitsubishi, causing Mitsubishi
                                                                         24   prejudice by forcing it to enter long-running, complex litigation
                                                                         25   at a very late date.     Mitsubishi argues further that if the Court
                                                                         26   does not find that laches bars the DAPs' complaints, they are still
                                                                         27   untimely per all relevant statutes of limitations and are not
                                                                         28   tolled by any tolling doctrine.



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                                                                               Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 4 of 11




                                                                          1 III.   LEGAL STANDARD
                                                                          2        A motion to dismiss under Federal Rule of Civil Procedure
                                                                          3   12(b)(6) "tests the legal sufficiency of a claim."          Navarro v.
                                                                          4   Block, 250 F.3d 729, 732 (9th Cir. 2001).         "Dismissal can be based
                                                                          5   on the lack of a cognizable legal theory or the absence of
                                                                          6   sufficient facts alleged under a cognizable legal theory."
                                                                          7   Balistreri v. Pacifica Police Dep't, 901 F.2d 696, 699 (9th Cir.
                                                                          8   1988).   "When there are well-pleaded factual allegations, a court
                                                                          9   should assume their veracity and then determine whether they
                                                                         10   plausibly give rise to an entitlement to relief."          Ashcroft v.
                               For the Northern District of California
United States District Court




                                                                         11   Iqbal, 556 U.S. 662, 664 (2009).       However, "the tenet that a court
                                                                         12   must accept as true all of the allegations contained in a complaint
                                                                         13   is inapplicable to legal conclusions.        Threadbare recitals of the
                                                                         14   elements of a cause of action, supported by mere conclusory
                                                                         15   statements, do not suffice."      Id. at 678 (citing Bell Atl. Corp. v.
                                                                         16   Twombly, 550 U.S. 544, 555 (2007)).       The allegations made in a
                                                                         17   complaint must be both "sufficiently detailed to give fair notice
                                                                         18   to the opposing party of the nature of the claim so that the party
                                                                         19   may effectively defend against it" and "sufficiently plausible"
                                                                         20   such that "it is not unfair to require the opposing party to be
                                                                         21   subjected to the expense of discovery."        Starr v. Baca, 652 F.3d
                                                                         22   1202, 1216 (9th Cir. 2011).
                                                                         23        Claims sounding in fraud are subject to the heightened
                                                                         24   pleading requirements of Federal Rule of Civil Procedure 9(b),
                                                                         25   which requires that a plaintiff alleging fraud "must state with
                                                                         26   particularity the circumstances constituting fraud."          See Kearns v.
                                                                         27   Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009).          "To satisfy
                                                                         28   Rule 9(b), a pleading must identify the who, what, when, where, and



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                                                                               Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 5 of 11




                                                                          1   how of the misconduct charged, as well as what is false or
                                                                          2   misleading about [the purportedly fraudulent] statement, and why it
                                                                          3   is false."    United States ex rel Cafasso v. Gen. Dynamics C4 Sys.,
                                                                          4   Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (internal quotation marks
                                                                          5   and citations omitted).
                                                                          6
                                                                          7 IV.    DISCUSSION
                                                                          8        A.      Laches
                                                                          9        Laches is an equitable time limitation on a party's right to
                                                                         10   bring suit that requires a showing of (1) unreasonable delay in
                               For the Northern District of California
United States District Court




                                                                         11   filing the suit and (2) prejudice to Defendant.          Jarrow Formulas,
                                                                         12   Inc. v. Nutrition Now, Inc., 304 F.3d 829, 835 (9th Cir. 2002).          A
                                                                         13   laches defense raised at the motion to dismiss posture requires
                                                                         14   exclusive reliance on the factual allegations in the complaint.
                                                                         15   Kourtis v. Cameron, 419 F.3d 989, 1000 (9th Cir. 2005), overruled
                                                                         16   on other grounds, Taylor v. Sturgell, 553 U.S. 880 (2008).          Courts
                                                                         17   have noted that this requirement poses a nearly insurmountable
                                                                         18   obstacle to the favorable resolution of a defendant's fact-
                                                                         19   dependent laches claim at the pleadings stage.         See Mishewal Wappo
                                                                         20   Tribe of Alexander Valley v. Salazar, No. 09-cv-02502-EJD, 2011 WL
                                                                         21   5038356, at *7 (N.D. Cal. Oct. 24, 2011); Italia Marittima, S.P.A.
                                                                         22   v. Seaside Transp. Servs., LLC, No. C-10-0803-PJH, 2010 WL 3504834,
                                                                         23   at *6 (N.D. Cal. Sept. 7, 2010).
                                                                         24        In considering the complaints, it is difficult not to find
                                                                         25   some delay -- especially given the Order Denying Amendment -- but
                                                                         26   new facts have arisen since the Court considered the DAPs' motion
                                                                         27   for leave to add Mitsubishi as a defendant.         The previous request
                                                                         28   and proposed complaints were all factually deficient, but the facts



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                                                                               Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 6 of 11




                                                                          1   and the DAPs' arguments have changed at this point.
                                                                          2        One defendant in this case recently gave extensive details
                                                                          3   regarding Mitsubishi's participation in the conspiracy, which had,
                                                                          4   until November 2013, been kept secret.        The defendant stated very
                                                                          5   specifically that Mitsubishi executives participated directly in
                                                                          6   the conspiracy, and that they agreed to keep their participation
                                                                          7   secret, including by using coded references to the participating
                                                                          8   companies.    See, e.g., ECF No. 2279-6 ("BrandsMart FAC") (filed
                                                                          9   under seal) ¶¶ 144-45.     This late-arising evidence weighs against
                                                                         10   finding laches at this point, which the Court is not inclined to do
                               For the Northern District of California
United States District Court




                                                                         11   in any event, given the lack of a strong factual record concerning
                                                                         12   these parties at this point.      See Sensible Foods, LLC v. World
                                                                         13   Gourmet, Inc., No. 11-2819 SC, 2011 WL 5244716, at *5 (N.D. Cal.
                                                                         14   Nov. 3, 2011).    Mitsubishi can, of course, raise laches at a later
                                                                         15   point, when the record is more developed.
                                                                         16        B.      Tolling Doctrines Apply for the DAPs' Federal Claims
                                                                         17        The doctrine of fraudulent concealment focuses on actions that
                                                                         18   a defendant took to prevent a plaintiff from learning of grounds
                                                                         19   for filing a suit.     See Lukovsky v. City & Cnty. of S.F., 535 F.3d
                                                                         20   1044, 1051 (9th Cir. 2008).      To invoke the doctrine, plaintiffs
                                                                         21   must allege facts demonstrating that they could not have discovered
                                                                         22   the alleged violations by exercising reasonable diligence.
                                                                         23   Rosenfeld v. JPMorgan Chase Bank N.A., 732 F. Supp. 2d 952, 964
                                                                         24   (N.D. Cal. 2010).    A fraudulent concealment claim must be alleged
                                                                         25   with particularity under Rule 9(b).       Noll v. eBay, Inc., 282 F.R.D.
                                                                         26   462, 468 (N.D. Cal. 2012).
                                                                         27        The Court finds that the DAPs' complaints have sufficiently
                                                                         28   pled fraudulent concealment until November 14, 2007, the latest



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                                                                               Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 7 of 11




                                                                          1   date this Court has held to provide actual or inquiry notice to the
                                                                          2   DAPs.    See In re Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-
                                                                          3   5944, 2013 WL 4505701, at *3 (N.D. Cal. Aug. 21, 2013); see also In
                                                                          4   re Rubber Chems. Antitrust Litig., 504 F. Supp. 2d 777, 789 (N.D.
                                                                          5   Cal. 2007) ("[I]t is generally inappropriate to resolve the fact-
                                                                          6   intensive allegations of fraudulent concealment at the motion to
                                                                          7   dismiss stage, particularly where the proof relating to the extent
                                                                          8   of the fraudulent concealment is alleged to be largely in the hands
                                                                          9   of the alleged conspirators.").       However, given their late filing
                                                                         10   date, this still renders their claims time-barred unless they are
                               For the Northern District of California
United States District Court




                                                                         11   able to invoke a tolling doctrine or some equivalent that would
                                                                         12   cover the time period from November 14, 2007 to the filing of the
                                                                         13   present complaints.     The Court is not persuaded by Mitsubishi's
                                                                         14   arguments that it withdrew from the CRT business by 2005, if not
                                                                         15   later, since that is a fact-sensitive dispute not suitable to
                                                                         16   resolution at this posture.      Similarly, the Court declines to find
                                                                         17   that any fraudulent concealment ceased prior to November 14, 2007,
                                                                         18   since the DAPs' allegations make clear that Mitsubishi worked to
                                                                         19   hide its involvement in the conspiracy throughout all relevant
                                                                         20   times.
                                                                         21              i.     American Pipe Tolling
                                                                         22           American Pipe & Const. Co. v. Utah, 414 U.S. 538 (1974), held
                                                                         23   that commencement of a class action suspends the statute of
                                                                         24   limitation as to all putative members of the class up to and until
                                                                         25   class certification is denied or the plaintiff opts out of the
                                                                         26   class.    Id. at 554; Williams v. Boeing Co., 517 F.3d 1120, 1136
                                                                         27   (9th Cir. 2008); Emp'rs-Teamsters Local Nos. 175 & 505 Pension
                                                                         28   Trust Fund v. Anchor Capital Advisors, 498 F.3d 920, 925 (9th Cir.



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                                                                               Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 8 of 11




                                                                          1   2007).    "Tolling is fair in such a case because when the complaint
                                                                          2   is filed defendants have notice of the 'substantive claims being
                                                                          3   brought against them.'"     Williams, 517 F.3d at 1136 (quoting Crown,
                                                                          4   Cork & Seal Co. v. Parker, 462 U.S. 345, 352-53 (1983)).
                                                                          5        Mitsubishi was not a defendant in any of the previously filed
                                                                          6   cases.    This is enough for the Court to hold American Pipe tolling
                                                                          7   inapplicable in this case.      See Biotech. Value Fund, L.P. v. Celera
                                                                          8   Corp., -- F. Supp. 2d --, 2013 WL 6731900, at *8 (N.D. Cal. Dec.
                                                                          9   20, 2013) (not applying American Pipe to a defendant not named in
                                                                         10   any putative class action); Tech Data Corp. v. AU Optronics Corp.,
                               For the Northern District of California
United States District Court




                                                                         11   No. 07-MD-1827, 2012 WL 3236065, at *5 (N.D. Cal. Aug. 6, 2012)
                                                                         12   (same).   The DAPs argue that the Court should apply American Pipe
                                                                         13   tolling anyway, contending that this would comport with the spirit
                                                                         14   of American Pipe and equitable tolling doctrines.          Opp'n at 13-14.
                                                                         15   The Court is not convinced: the parts of American Pipe that the
                                                                         16   DAPs quote refer to the protection of "all asserted members of the
                                                                         17   class who would have been parties had the suit been permitted to
                                                                         18   continue as a class action," but this refers to plaintiffs, not
                                                                         19   defendants -- rightly so, since the point of American Pipe tolling
                                                                         20   is partly to preserve the interests of plaintiffs who would have
                                                                         21   claims against certain defendants, partly to prevent a rush to the
                                                                         22   courthouse by plaintiffs seeking to preserve their individual
                                                                         23   claims in the event of class claim denials, and partly to provide
                                                                         24   notice to defendants against whom claims are tolled.          See American
                                                                         25   Pipe, 414 U.S. at 553-54.      The Court will not make new law on this
                                                                         26   point: Mitsubishi is a new defendant, and American Pipe tolls no
                                                                         27   claims against it.
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                                                                               Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 9 of 11




                                                                          1        The only remaining question is whether any other tolling
                                                                          2   doctrine applies as to any of Mitsubishi's state or federal claims.
                                                                          3           ii.      Governmental Action
                                                                          4        Sharp argues that its claims are also tolled by 15 U.S.C. §
                                                                          5   16(i), which reads:
                                                                          6        Whenever any civil or criminal proceeding is instituted
                                                                                   by the United States to prevent, restrain, or punish
                                                                          7        violations of any of the antitrust laws, but not
                                                                                   including an action under section 15a of this title, the
                                                                          8        running of the statute of limitations in respect to
                                                                                   every private or State right of action arising under
                                                                          9        said laws and based in whole or in part on any matter
                                                                                   complained of in said proceeding shall be suspended
                                                                         10        during the pendency thereof and for one year thereafter
                               For the Northern District of California
United States District Court




                                                                                   . . . .
                                                                         11
                                                                         12   In concurrently filed orders on other motions to dismiss, the Court
                                                                         13   notes that § 16(i) tolls only federal claims, not state claims.      15
                                                                         14   U.S.C. § 12 (stating that the statute only applies to an express
                                                                         15   list of federal laws); Nashville Milk Co. v. Carnation Co., 355
                                                                         16   U.S. 373, 376 (1958) ("[T]he definition contained in [Section] 1 of
                                                                         17   the Clayton Act is exclusive.      Therefore it is of no moment . . .
                                                                         18   that [a statute] may be colloquially described as an 'anti-trust'
                                                                         19   statute.").   However, New York's Donnelly Act includes a provision
                                                                         20   modeled after § 16(i), which applies to the same degree if the
                                                                         21   Court finds governmental action tolling per § 16(i).
                                                                         22        The Court finds that § 16(i) tolling applies based on the open
                                                                         23   indictments in this case.      It is undisputed that one criminal
                                                                         24   matter, pending between March 18, 2011 until its closure in August
                                                                         25   30, 2012, tolls claims under § 16(i) for that time period plus a
                                                                         26   year.   See Reply at 12-13.     A "comparison of the two complaints on
                                                                         27   their face[s]" shows in this case that there is a significant
                                                                         28   overlap between the two actions, such "that the matters complained



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                                                                              Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 10 of 11




                                                                          1   of in the government suit bear a real relation to the private
                                                                          2   plaintiff's claim for relief."      Leh v. Gen. Petro. Grp., 382 U.S.
                                                                          3   54, 59 (1965).
                                                                          4           However, Mitsubishi argues that the other indictments, opened
                                                                          5   around February 2009 and still pending, should not be applied to
                                                                          6   toll the DAPs' claims under § 16(i).        Mitsubishi contends that
                                                                          7   permitting tolling based on those indictments would contravene both
                                                                          8   the purposes of government-action tolling and the purposes of
                                                                          9   statutes of limitation in general.        See id. at 13-14.    As noted in
                                                                         10   concurrently filed orders, the Court disagrees.         Based on J.M.
                               For the Northern District of California
United States District Court




                                                                         11   Dungan v. Morgan Drive-Away, Inc., 570 F.2d 867 (9th Cir. 1978),
                                                                         12   tolling under § 16(i) begins at least at the indictment stage,
                                                                         13   though that case had the benefit of at least one completed criminal
                                                                         14   case.    As Mitsubishi notes, Dungan's holding was, in part, that
                                                                         15   empanelling a grand jury did not "institute" proceedings, but
                                                                         16   contrary to Mitsubishi's reading of Dungan, the Ninth Circuit's
                                                                         17   holding was in fact based on the court's reasoning that the return
                                                                         18   of a grand jury indictment fits the statutory language of § 16(i)
                                                                         19   more comfortably than empanelling alone would, since the purpose of
                                                                         20   an indictment is the prevention, restraint, or punishment of
                                                                         21   antitrust violations.
                                                                         22           The Court declines to adopt Mitsubishi's arguments that
                                                                         23   equitable doctrines or alternative views of a criminal proceeding
                                                                         24   should apply here to require the Court to consider the open
                                                                         25   indictments effectively closed.      As noted in other orders, filed
                                                                         26   concurrently, the Court cannot presume, as Mitsubishi and other
                                                                         27   Defendants do, that those open (but in some cases unassigned)
                                                                         28   criminal cases should be ignored for tolling purposes.          The Court



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                                                                              Case 3:07-cv-05944-JST Document 2439 Filed 03/13/14 Page 11 of 11




                                                                          1   finds that the DAPs' federal and New York Donnelly Act claims are
                                                                          2   tolled from February 10, 2009 to the present.
                                                                          3
                                                                          4   V.   CONCLUSION
                                                                          5        As explained above, the DAPs' state law claims are DISMISSED
                                                                          6   WITH PREJUDICE, except their Donnelly Act claims, which remain in
                                                                          7   the case.   All federal claims are undisturbed.
                                                                          8
                                                                          9        IT IS SO ORDERED.
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                               For the Northern District of California
United States District Court




                                                                         11        Dated: March 13, 2014
                                                                         12                                             UNITED STATES DISTRICT JUDGE
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